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UNITED STATES DISTRICT COURT
DISTRICT OF MARYLAND

CASA, INC.,
Plaintiff,
V.

KRISTI NOEM,

Secretary of Homeland Security,
in her official capacity, and

U.S. DEPARTMENT OF
HOMELAND SECURITY,

Civil Action No. 25-1484-TDC

Defendants.

ORDER
For the reasons set forth in the accompanying Memorandum Opinion, it is hereby
ORDERED that:

1, Plaintiff CASA Inc.’s Motion for Partial Summary Judgment or a Stay of Agency
Action, ECF No. 42, is DENIED.

2 Defendants’ Cross Motion for Summary Judgment and Motion to Dismiss, ECF
No. 53, is DENIED.

3: Defendants are directed to file an Answer to the Amended Complaint within 14

days of the date of this Order.

Date: July 10, 2025
THEODORE D. CHUA
United States District J

